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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

 JUSTIN GUY, individually on behalf
 of himself and others similiarly situated,
                                                        Case No.: 20-cv-12734
           Plaintiff,
                                                        Hon. Mark A. Goldsmith
 v.

 ABSOPURE WATER COMPANY, LLC,
 a domestic limited liability company,

      Defendant.
 ___________________________________/

 PLAINTIFF’S RESPONSE TO DEFENDANT’S UNTIMELY SUBMITTED
        STATEMENT PURSUANT TO THE COURT’S ORDER

           Plaintiff, Justin Guy, hereby Responds to Defendant’s untimely submitted

 statement to the Court’s Order. See ECF No. 134.

           Because Defendant failed to present the information set forth in its Statement

 Pursuant to the Court’s Order in a timely fashion, Plaintiff did not have an

 opportunity to address Defendant’s Witness List and proposed motions in his initial

 filing.

           With Respect to Defendant’s Statement, first, Defendant’s Witness List

 suggests that Defendant intends to call more than thirty-six (36) witnesses in this

 straight-forward wage and hour collective action. Plaintiff objects to this absurd

 request. The Court’s Order Directing Parties to File Joint Statement provides, in
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 relevant part:

       The parties are also on notice that the Court may limit the number of
       hours each side may have to present their respective cases. See Mich.
       First Credit Union v. Cumis Ins. Soc. Inc., No. 05-cv-74423, 2009 WL
       1664088, at *7 (E.D. Mich. June 15, 2009) (“The Court has broad
       discretion in establishing reasonable time limits on [a] trial.”)

 ECF No. 134. To the extent the Court does not sua sponte address Defendant’s

 proposed Witness List, Plaintiff will file a Motion in Limine to exclude cumulative

 evidence and for Representative Testimony.1

        Second, Plaintiff objects to Defendant calling witnesses who Defendant

 failed to timely disclose (e.g., Ron Civone, Andrew Mumford, Bob Sturdy, Joseph

 Heikkuri).

       Third, the Court’s Order Directing Parties to File Joint Statement asks the

 parties to provide a description of any pretrial motions that the parties expect to file.

 See ECF No. 134. Defendant’s Statement indicates that Defendant took this directive

 as a license to refile multiple motions for summary judgment, which includes

 motions pertaining to the Motor Carrier Act (“MCA”) exemption, and the never-

 pled affirmative defense for the retail/service establishment exemption to the FLSA.

 See ECF No. 138, PageID.6370. As the docket reflects, Defendant has demonstrated

 a complete disregard for the Courts Orders in this matter, beginning from the onset



 1
   Plaintiff intends to file one omnibus Motion in Limine in an effort to save time and
 judicial resources.

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 of this litigation, and continuing until its untimely filing of its statement pursuant to

 the Court’s Order. See ECF No. 138. Again, the Court’s deadline for filing

 dispositive motions has long expired. In an effort to avoid this nonsense, Plaintiff

 respectfully requests an Order advising Defendant of the obvious: that the deadline

 to file motions for summary judgment has long expired and they cannot file motions

 additional summary judgment on the eve of trial.

                                          Respectfully submitted,
 Dated: August 29, 2023
                                      By: /s/ Michael N. Hanna
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                        LOCAL RULE CERTIFICATION

       I, Michael Hanna, certify that this document complies with Local Rule 5.1(a),

 including: double-spaced (except for quoted materials and footnotes); at least one-

 inch margins on the top, sides, and bottom; consecutive page numbering; and type

 size of all text and footnotes that is no smaller than 10-1/2 characters per inch (for

 non-proportional fonts) or 14 point (for proportional fonts). I also certify that it is

 the appropriate length. Local Rule 7.1(d)(3).

                                                                /s/ Michael N. Hanna
                                                                    Michael N. Hanna

                           CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed using the

 CM/ECF system on August 29, 2023, which I understand will send a notice of

 same to all counsel of record.


                                                           /s/ Michael N. Hanna
                                                               Michael N. Hanna




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